Form 726[Deficiency Notice]

                                UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF UTAH


        In re:                                                                     Case No. 25−21693 JTM
                 Paul Gilbert Serrano and Amanda Kristin                           Chapter 7
                 Serrano
                               Debtor(s).




                                             DEFICIENCY NOTICE
        The Chapter 7 Petition filed with the Court on March 31, 2025 was incomplete and/or not
        accompanied by all lists, schedules, statements or other documents required by the United States
        Bankruptcy Code. Rules 1007 and 2016 of the Federal Rules of Bankruptcy Procedure and Local
        Bankruptcy Rule 1007−1 set forth specific papers that are required to be filed with the Court.
        By April 14, 2025, you must file the missing and/or deficient papers listed below with the Clerk of
        Court, United States Bankruptcy Court, 350 South Main Street, Room 301, Salt Lake City, Utah
        84101.
                  − Attorney Compensation Disclosure Statement
                  − Signatures Missing on Declaration/Schedules
                  − Chapter 7 Statement of Monthly Income
                  − Statement of Financial Affairs and All Schedules
                  − Summary of Assets and Liabilities
        Official Bankruptcy Forms are available at https://www.uscourts.gov/forms/bankruptcy−forms. The
        100 series of forms are for individuals and the 200 series of forms are for non−individuals.
        You may file a motion and a proposed order to extend the time for filing missing and/or deficient
        papers.

        If you fail to file all of the missing and/or deficient papers specified above or fail to request an
        extension by April 14, 2025, the United States Trustee or a party in interest may file a motion and
        schedule a hearing to seek dismissal of your case.

                        IMPORTANT − YOUR RIGHTS MAY BE AFFECTED:
          If you fail to request an extension or fail to file all of the missing and/or deficient papers specified
          above by May 15, 2025, your case may be automatically dismissed without further notice or
          hearing. See 11 U.S.C. § 521(i)

        Dated: April 1, 2025

                                                              David A. Sime
                                                              Clerk of Court
                                                                  United States Bankruptcy Court
                                                                          District of Utah
In re:                                                                                                                     Case No. 25-21693-JTM
Paul Gilbert Serrano                                                                                                       Chapter 7
Amanda Kristin Serrano
       Debtors
                                                        CERTIFICATE OF NOTICE
District/off: 1088-2                                                      User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 01, 2025                                                   Form ID: f726                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                    Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                     regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 03, 2025:
Recip ID                    Recipient Name and Address
db/jdb                    + Paul Gilbert Serrano, Amanda Kristin Serrano, 6389 W Lake Ave, South Jordan, UT 84009-1350

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                          BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                         NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 03, 2025                                               Signature:            /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 1, 2025 at the address(es) listed below:
Name                                  Email Address
Nicholas R. Russell
                                      on behalf of Debtor Paul Gilbert Serrano nrussell@roruss.com
                                      paralegal@roruss.com;rorusslaw@gmail.com;srogers@roruss.com;bwhiting@roruss.com;r47264@notify.bestcase.com

Nicholas R. Russell
                                      on behalf of Joint Debtor Amanda Kristin Serrano nrussell@roruss.com
                                      paralegal@roruss.com;rorusslaw@gmail.com;srogers@roruss.com;bwhiting@roruss.com;r47264@notify.bestcase.com

Philip G. Jones tr
                                      trustee@theo7.com PJones2@ecf.axosfs.com

United States Trustee
                                      USTPRegion19.SK.ECF@usdoj.gov


TOTAL: 4
